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     Attorney for Defendant
6    JAMIE RAMON FUENTES MARTINEZ

7

8                    IN THE UNITED STATES DISTRICT COURT
9
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,           ) Case No.: 2:15 CR 140 MCE
12                                       )
                     Plaintiff,          ) STIPULATION AND ORDER
13                                       ) CONTINUING JUDGMENT AND
                                         ) SENTENCING
14   vs.                                 )
                                         ) Date: September 6, 2018
15   JAMIE RAMON FUENTES MARTINEZ,       ) Judge: Hon. Morrison C.
                                         ) England, Jr.
16                                       ) Time: 10:00 a.m.
                     Defendant.
17

18
           The parties hereby stipulate the following:
19

20         1. Judgment and sentencing in this matter is presently set
21           for August 2, 2018.     Counsel for the parties request the
22           date for judgment and sentencing be continued to
23           September 6, 2018 at 10:00 a.m.        Assistant U.S. Attorney
24           Paul Hemesath has been advised of this request and has no
25           objection.    U.S. Probation has also been advised of this
26           request.   The parties request the Court adopt the
27           following schedule pertaining to the presentence report:
28
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1         Judgment and Sentencing date:                    9/6/18
2
          Reply, or Statement of Non-Opposition:           8/30/18
3
          Motion for Correction of the Presentence Report Shall be
4         filed with the Court and served on the Probation Officer
          and opposing counsel no later than:     8/23/18
5

6         The Presentence Report shall be filed with the Court and
          disclosed to counsel no later than:     8/16/18
7
          Counsel’s written objections to the Presentence Report
8
          Shall be delivered to the probation officer and opposing
9         Counsel no later than:                  8/9/18

10        The Presentence Report shall be filed with the Court And
          disclosed to counsel no later than:     7/26/18
11

12

13
     Dated:    June 18, 2018                         /s/   John R. Manning
14

15                                             JOHN R. MANNING
                                               Attorney for Defendant
16                                             Jamie Ramon Fuentes Martinez
17

18   Dated:    June 18, 2018                        McGregor W. Scott
                                               United States Attorney
19
                                               by: /s/ Paul Hemesath
20
                                               PAUL HEMESATH
21                                             Assistant United States
     Attorney
22
                                         ORDER
23

24        IT IS SO ORDERED.

25   Dated:    June 19, 2018
26

27

28
